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PlaintifttERA OF COURT 20-CR-U2

 

 

Case No.
v. [18 U.S.C. §§ 241]
YOUSEF O. BARASNEH,
Defendant.
INDICTMENT
COUNT ONE

(Conspiracy Against Rights)

THE GRAND JURY CHARGES THAT:

he At all times material to this indictment, Yousef O. Barasneh was a
member of “The Base,” a white-supremacist group.

2. At all times material to this indictment, the Beth Israel Sinai
Congregation was an organization consisting of Jewish members and guests who
worshiped and conducted other religious activities in a building located at 3009
Washington Avenue, Racine, Wisconsin, which served as a synagogue.

3. From on or about September 15, 2019, and continuing through on or
about September 23, 2019, in the State and Eastern District of Wisconsin and
elsewhere,

YOUSEF 0. BARASNEH
knowingly and willfully conspired and agreed with other persons known and

unknown to the grand jury, to injure, oppress, threaten, and intimidate non-white

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and Jewish citizens of the United States in the free exercise and enjoyment of the
right secured by the Constitution and laws of the United States, to hold and use
real and personal property in the same manner as that right is enjoyed by white
citizens, as guaranteed by Title 42, United States Code, Section 1982.

4. It was a plan and purpose of the conspiracy that Barasneh and his co-
conspirators take action against property associated with non-white and Jewish
citizens to show the strength and cohesion of “The Base.”

5. In furtherance of the conspiracy, Barasneh and his co-conspirators
used a messaging platform through which they discussed vandalizing property
associated with African Americans and Jewish Americans and agreed that they
should take action between September 20, 2019, and September 25, 2019, to
vandalize such property.

6. In furtherance of the conspiracy, on or about September 21, 2019,
Barasneh spray-painted anti-Semitic symbols and language on the Beth Israel Sinai
Congregation building in Racine, Wisconsin.

All in violation of Title 18, United States Code, Section 241.

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A TRUE BILL:

 

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Dated: deb ruatug ab LO2ZO

 

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MATTHEW D. KRUEGER

United States Attorney

 

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